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 4                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5                                    AT SEATTLE

 6       DAN REDLER INSURANCE &
         FINANCIAL SERVICES, INC.,
 7
                              Plaintiff,
 8                                                       C21-1267 TSZ
            v.
 9                                                       MINUTE ORDER
         CONSUMER BENEFITS GROUP,
10       LLP d/b/a BOOMER BENEFITS,

11                            Defendant.

12        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
13
            (1)      The motion to dismiss, docket no. 10, brought by defendant Consumer
14   Benefits Group, LLC d/b/a Boomer Benefits (“Boomer”), pursuant to Federal Rule of
     Civil Procedure 12(b)(6), is DENIED. Contrary to Boomer’s assertion, plaintiff Dan
15   Redler Insurance & Financial Services, Inc. (“Redler”) has not alleged claims that sound
     in fraud, 1 but even if Redler has accused Boomer of fraud, Redler has done so with the
16   particularity required by Federal Rule of Civil Procedure 9(b). Moreover, to the extent
     that Redler’s pleading is deficient, the Court would grant leave to amend, and Boomer’s
17   request for a dismissal with prejudice is entirely lacking in merit.

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19   Redler seeks (i) a declaratory judgment of non-infringement of Boomer’s trademarks;
   (ii) cancellation of Boomer’s registration for the design mark            ; and (iii) denial of
20 Boomer’s application for the word mark “WE SPEAK MEDICARE.” Redler alternatively sues
   Boomer under federal and state law for infringement of Redler’s design mark          . See
21 Compl. at ¶¶ 25–43 (docket no. 1). Of these claims, only the second one, seeking cancellation of
   U.S. Registration No. 5,831,207, is premised on Boomer’s allegedly false representation to the
   United States Patent and Trademark Office concerning when Boomer first used the design mark
22                in commerce.

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 1         (2) Pursuant to the parties’ telephonic request, the initial scheduling deadlines
     are EXTENDED as follows:
 2
           Conference pursuant to Fed. R. Civ. P. 26(f)             December 17, 2021
 3
           Initial Disclosures pursuant to Fed. R. Civ. P. 26(a)    January 7, 2022
 4         Combined Joint Status Report and Discovery Plan          January 7, 2022
 5
          (3)     The Clerk is directed to send a copy of this Minute Order to all counsel of
 6 record.

           Dated this 10th day of November, 2021.
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 8                                                   Ravi Subramanian
                                                     Clerk
 9
                                                     s/Gail Glass
10                                                   Deputy Clerk

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     MINUTE ORDER - 2
